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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                    Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department     C.A. No.
of Corrections,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                   Defendants.
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                     DECLARATION OF THERESA MARIA DAMIEN, CNP, PMHNP-BC, CARN-AP



Pursuant to 28 U.S.C. § 1746, I, Theresa Maria Damien, CNP, PMHNP-BC, CARN-AP declare as follows:

    1.       I have practiced in the state of Massachusetts as an Adult Psychiatric Nurse Practitioner (PMHNP-BC)
             since 2011. My subspecialty certification is in Addiction Psychiatry as a Certified Addiction Registered
             Nurse (CARN-AP) since 2012.

              I have extensive experience as a nurse educator in Academic Settings and Nurse Practitioner in
             Clinical Areas. I was granted a DATA 2000 waiver from SAMHSA to prescribe buprenorphine as
             Medication Assisted Treatment of Opioid Use Disorders (OUD) on 4/13/2017. Licensing information is
             included below:

                 Licensing Information:
                 MA RN/CNP LIC #: RN273902
                 DATA Waiver DEAX: XD2408777
                 DEA: MD2408777
                 NPI: 1841584299

    2.       I was employed by High Point Treatment Center as a Psychiatric Nurse Practitioner from
             July 17,2018 – August 19, 2019.

    3.       During the time of my employment at High Point Treatment Center (HPTC), I was allowed privileges
             to treat Substance Use Disorders (SUD) including OUD and Behavioral Health Disorders.

    4.       My involvement with treatment of OUD at the Outpatient Clinic Area of HPTC was limited to
             Naltrexone ER IM and Buprenorphine-Naloxone SL interventions only when medically necessary on a
             case by case evaluation.

    5.       I have been granted permission by Mr. Feinstein to review his medical records at HPTC. Releases of
             information that satisfy 42CFR requirements were signed on 12/14/2019.

    6.       A review of my HPTC treatment notes for the period 5/6/2019-7/22/2019 indicate that Michael
             Feinstein carries the diagnosis of OUD treated by me using 12-3 mg of Buprenorphine-Naloxone
             sublingually daily.

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and
correct.

Executed on December 17, 2019        _____________________________________

                                    Theresa Maria Damien CNP, PMHNP-BC, CARN-AP
